         Case 3:20-cv-00738-JAM Document 355 Filed 02/07/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                                       )
UNIVERSITAS EDUCATION, LLC                             )
     Plaintiff                                         )        CIVIL ACTION NO.
                                                       )        3:20-cv-00738-JAM
vs.                                                    )
                                                       )
BENISTAR, et al                                        )
     Defendants                                        )        FEBRUARY 7, 2022

            Supplemental Memorandum of Law in Support of Motion to Dismiss
                       (Regarding Caroline Financial Group, Inc.)

       Pursuant to Rules 12(b)(1) of the Federal Rules of Civil Procedure, and as directed by the

Honorable Jeffrey A. Meyer at the February 1, 2023 hearing before Judge Meyer, Defendants

Greyhound Partners, LLC, Seir Hill Partners, LLC, 1 & 3 Mill Pond Partners, LLC and Birch Hill

Partners, LLC submit this supplemental memorandum of law in support of their respective motions

to dismiss Universitas’s Amended Complaint.

                                    Argument and Authorities

       As argued previously, the citizenship of a limited liability company is each of the states of

its members. Handelsman v. Bedford Vill. Assocs. Ltd. P’ship, 213 F.3d 48, 51–52 (2d Cir. 2000).

The federal diversity jurisdiction statute provides that “a corporation shall be deemed to be a

citizen of any State by which it has been incorporated and of the State where it has its principal

place of business.” 28 U.S.C. § 1332(c)(1).

       In order for diversity of citizenship to exist in this action, all plaintiffs’ citizenship must be

diverse from that of all defendants. St. Paul Fire and Marine Ins. Co. v. Universal Builders Supply,

409 F.3d 73, 80 (2d Cir. 2005). Courts “have an independent obligation to ensure that federal

subject-matter jurisdiction exists.” Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010); Sullivan v. Am.

Airlines, Inc., 424 F.3d 267, 274 (2nd Cir. 2005) (cit. omitted) (district court lacked jurisdiction).



                                                   1
         Case 3:20-cv-00738-JAM Document 355 Filed 02/07/23 Page 2 of 3




        Universitas, as the “party asserting diversity jurisdiction[,] bears the burden of establishing

the parties’ citizenships.” See Hertz Corp., 559 U.S. at 96. Because Universitas failed to meet its

pleading burden and multiple defendants moved for a dismissal due to the lack of diversity

jurisdiction, dismissal is required. See Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006) (“[W]hen

a federal court concludes that it lacks subject-matter jurisdiction, the court must dismiss the

complaint in its entirety.”).

        As discussed during the February 1, 2023 hearing, the First Amended Complaint [Dkt. 249]

refers to Caroline Financial Group, Inc. as a member or managing member of various LLCs in

multiple places, but Universitas makes no mention of this corporation’s principal place of business

and where it is incorporated:

    Par. 88:    Upon information and belief, Caroline Financial Group, Inc. serves as the
                managing member for numerous Benistar 1 entities.

    Par. 129: Upon information and belief, GM Partners [Grist Mill Partners, LLC] is 1%
              owned by Caroline Financial Group, Inc. Upon information and belief,
              Caroline Financial Group, Inc. is the managing member of GM Partners.

    Par. 148: Upon information and belief, Seir Hill [Partners, LLC] is owned by Molly
              Carpenter and Caroline Financial Group, Inc.

    Par. 158: Upon information and belief, Caroline Financial Group, Inc. is the
              managing member of [1 & 3] Mill Pond [Partners, LLC].

    Par. 164: Upon information and belief, Birch Hill [Partners, LLC] is owned by
              Caroline Financial Group, Inc.

[Dkt 249, First Amended Complaint]

        As Judge Meyers noted during the February 1, 2023 hearing, Universitas is required to

plead facts, that, if true, would establish diversity jurisdiction. Because Universitas has clearly




1
 In paragraph 18 of the First Amended Complaint, Universitas defines “Benistar” to include all
“Defendants” in this case. [Dkt 149]


                                                   2
         Case 3:20-cv-00738-JAM Document 355 Filed 02/07/23 Page 3 of 3




failed to meet its burden of pleading sufficient facts to establish diversity jurisdiction, this case

must be dismissed.

                                         CONCLUSION

       Defendants Greyhound Partners, LLC, Seir Hill Partners, LLC, 1 & 3 Mill Pond Partners,

LLC and Birch Hill Partners, LLC move this Honorable Court to dismiss the Universitas Amended

Complaint with prejudice.


                                              Respectfully Submitted
                                              DEFENDANTS GREYHOUND PARTNERS,
                                              LLC, SEIR HILL PARTNERS, LLC, 1 & 3 MILL
                                              POND PARTNERS, LLC AND BIRCH HILL
                                              PARTNERS, LLC

                                              By: _/s/ Jonathan J. Einhorn___________
                                              JONATHAN J. EINHORN
                                              129 WHITNEY AVENUE
                                              NEW HAVEN, CT 06510
                                              FEDERAL BAR NO. ct00163
                                              EINHORNLAWOFFICE@GMAIL.COM

                                       CERTIFICATION

        I hereby certify that on this 7th day of February 2023, a copy of the foregoing was filed
electronically and served by mail to anyone unable to accept electronic filing. Notice of this filing
will be sent by email to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filings as indicated on the Notice of Electronic Filings.
Parties may access this filing through the Court’s CM/ECF System.


                                                      By: /s/ Jonathan J. Einhorn
                                                              JONATHAN J. EINHORN




                                                 3
